     Case: 2:25-cr-00066-ALM Doc #: 4 Filed: 04/29/25 Page: 1 of 1 PAGEID #: 15




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 United States of America,                     :
                                               :
                   Plaintiff,                  :          NOTICE
                                               :
          v.                                   :          Case No. 2:25-cr-66
                                               :
 Tyler Bossetti,                               :          JUDGE MARBLEY
                                               :
                   Defendant.                  :



        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

 Place:            UNITED STATES DISTRICT COURT            Courtroom 331
                   85 Marconi Boulevard
                   Columbus, OH 43215                      June 13, 2025 @ 11:30 a.m.

                                                           **If an interpreter is needed,
                                                           please notify ASAP**


TYPE OF PROCEEDING:                        Arraignment on Information



DATE: April 29, 2025                               ALGENON L. MARBLEY
                                                   United States District Judge



                                                   ___________________________________
                                                   (By) Diane M. Stash, Deputy Clerk
                                                   (614) 719-3265
